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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF KENTUCKY
                                    LOUISVILLE DIVISION
                            CIVIL ACTION NO. 3:19-CV-00230-RGJ-CHL


 ALLAN M. JOSEPHSON,                                                                     Plaintiff,

 v.

 TONI M. GANZEL, et al.,                                                              Defendants.

                               SETTLEMENT CONFERENCE REPORT

             On February 14, 2025, the undersigned conducted a settlement conference in the above

 matter with the following appearances:

             FOR PLAINTIFF:                Allan M. Josephson; Jeri Josephson; Tyson Langhofer;

 Travis Barham; Logan Spena

             FOR DEFENDANTS:               Toni Ganzel; Kimberly Boland; Jennifer Le; Bryan Carter;

 Charles Woods; David Lohr; Rebecca Stahl; Ashlee Hodge; Jeremy Rogers; Matthew Barszcz

             Settlement negotiations were conducted in good faith, and the Parties reached an agreement

 for the resolution of all claims.

             Therefore, the undersigned Magistrate Judge recommends that this action be dismissed as

 settled and with leave to reinstate within thirty days after entry of the order of dismissal if the

 Parties fail to fulfill the terms of the settlement agreement within that time.



  February 18, 2025




 cc: Counsel of record

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